     Case 1:22-cv-00339-SPB Document 229 Filed 02/03/23 Page 1 of 18




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA



PENNSYLVANIA STATE CONFERENCE
OF THE NAACP, et al.,

                      Plaintiffs,
                                           Civil Action No. 1:22-cv-339 (SPB)
            v.

AL SCHMIDT, et al.,

                      Defendants.




            STATEMENT OF INTEREST OF THE UNITED STATES
        Case 1:22-cv-00339-SPB Document 229 Filed 02/03/23 Page 2 of 18




       The United States respectfully submits this Statement of Interest pursuant to 28 U.S.C.

§ 517, which authorizes the Attorney General “to attend to the interests of the United States in a

suit pending in a court of the United States.” This case presents important questions regarding

enforcement of Section 101 of the Civil Rights Act of 1964, 52 U.S.C. § 10101 (“Section 101”).

Congress has vested the Attorney General with authority to enforce this provision on behalf of

the United States. See 52 U.S.C. § 10101(c). Accordingly, the United States has a substantial

interest in ensuring proper interpretation of Section 101.

       Straightforward in its command and targeted in its scope, Section 101 prohibits state

officials from denying any individual the right to vote based on an “error or omission” on a

“record or paper” that relates to any “act requisite to voting,” where that error or omission is not

material to determining “whether such individual is qualified under State law to vote in such

election.” 52 U.S.C. § 10101(a)(2)(B). The word “vote” covers “all action necessary to make a

vote effective,” including any “action required by State law prerequisite to voting, casting a

ballot, and having such ballot counted.” Id. at § 10101(a)(3)(A), (e). Thus, Section 101

encompasses mail voting. See id. § 10101(a)(2)(B); see also, e.g., La Unión del Pueblo Entero

v. Abbott, No. 21-cv-844, 2022 WL 1651215, at *20-21 (W.D. Tex. May 24, 2022) (applying

Section 101 to mail voting materials).

       Under Pennsylvania law, casting a mail ballot that will be counted requires the voter to

date a voter declaration. See 25 P.S. § 3146.6(a). Section 101 applies to this declaration and

bars election officials from rejecting ballots based on errors or omissions in completing the

declaration that are not material to determining the declarant’s qualifications to vote. Errors or

omissions regarding a date do not pertain to a voter’s qualifications. See 25 P.S. §§ 2811, 1301.




                                                  1
        Case 1:22-cv-00339-SPB Document 229 Filed 02/03/23 Page 3 of 18




       Defendant-Intervenors nonetheless urge this Court to ignore the statute’s broad definition

of “vote” and exclude paperwork not material to qualifications from Section 101’s reach. But

this Court should apply the statute’s plain language and reject Defendant-Intervenors’ counter-

textual interpretation. The Court should also reject Defendant-Intervenors’ view that private

litigants cannot enforce Section 101.

                      FACTUAL AND PROCEDURAL BACKGROUND

       Pennsylvania permits “all qualified voters to cast their vote by mail.” McLinko v. Dep’t

of State, 279 A.3d 539, 544 (Pa. 2022), cert. denied, No. 22-414, 2023 WL 124069 (U.S. Jan. 9,

2023); see also 25 P.S. § 3150.11. By statute, voters returning mail ballots must “fill out, date

and sign” a declaration printed on the mailing envelope, and completed ballots must be received

by 8:00 pm on Election Day. 25 P.S. §§ 3146.6(a), 3150.16(a), (c). State courts did not require

rejection of timely yet undated ballots in 2020, see In re Canvass of Absentee and Mail-In

Ballots, 241 A.3d 1058, 1062 (Pa. 2020), but have since required rejection of timely ballots

based on a failure to date the ballot envelope between the day when ballots are released and

Election Day, see Order, Ball v. Chapman, No. 102 MM 2022 (Pa. Nov. 5, 2022); Ball v.

Chapman, 284 A.3d 1189 (Pa. 2022); In re Canvass, 241 A.3d at 1079 (Wecht, J., concurring

and dissenting); id. at 1090-91 (Dougherty, J., concurring and dissenting); Ritter v. Lehigh Cnty.

Bd. of Elections, 272 A.3d 989, 2022 WL 16577 (Pa. Commw. Ct. 2022).

       Following the November 2021 election, registered voters who had mailed undated ballot

envelopes filed suit in federal court, alleging that failure to count their ballots violated Section

101. Ultimately, the Third Circuit unanimously ruled in Migliori v. Cohen, 36 F.4th 153 (3d Cir.

2022), that the date requirement violates Section 101. The Supreme Court declined to stay the

ruling, which allowed the ballots to be counted and the election to be certified. See Ritter v.

Migliori, 142 S. Ct. 1824 (2022). However, because certification rendered the litigation moot,


                                                   2
        Case 1:22-cv-00339-SPB Document 229 Filed 02/03/23 Page 4 of 18




the Supreme Court vacated the decision of the Court of Appeals. See Ritter v. Migliori, 143 S.

Ct. 297 (U.S. Oct. 11, 2022) (citing United States v. Munsingwear, Inc., 340 U.S. 36 (1950)).

Soon thereafter, Plaintiffs filed the instant litigation. Defendant-Intervenors, a group of party

committees, now move to dismiss Plaintiffs’ Amended Complaint. Mot. to Dismiss, ECF No.

193; D.I. Mem., ECF No. 194.

                                       LEGAL STANDARD

        “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (internal citation and quotation marks omitted); see also Phillips v. Cnty. of

Allegheny, 515 F.3d 224, 233 (3d Cir. 2008) (construing the complaint “in the light most

favorable to the plaintiff” in determining whether “any reasonable reading of the complaint”

would allow relief). Consideration of information outside the face of the complaint is limited to

“documents incorporated into the complaint by reference[] and matters of which a court may

take judicial notice.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007). So

long as these materials allow a court to “draw the reasonable inference that the defendant is

liable,” the motion must be denied. Iqbal, 556 U.S. at 678.

                                 STATUTORY BACKGROUND

        Section 101 of the Civil Rights Act of 1964, 52 U.S.C. § 10101, also known as the

Materiality Provision, prohibits persons acting under color of law from denying “the right of any

individual to vote in any election because of an error or omission on any record or paper relating

to any application, registration, or other act requisite to voting, if such error or omission is not

material in determining whether such individual is qualified under State law to vote in such

election.” 52 U.S.C. § 10101(a)(2)(B); see also, e.g., Migliori, 36 F.4th at 162-63 (holding that a

“requirement is material if it goes to determining” whether a voter meets a particular state-law


                                                   3
        Case 1:22-cv-00339-SPB Document 229 Filed 02/03/23 Page 5 of 18




qualification). For purposes of Section 101, “the word ‘vote’ includes all action necessary to

make a vote effective including, but not limited to, registration or other action required by State

law prerequisite to voting, casting a ballot, and having such ballot counted and included in the

appropriate totals of votes cast with respect to candidates for public office and propositions for

which votes are received in an election.” 52 U.S.C. § 10101(a)(3)(A), (e).

        Under Pennsylvania law, individuals are qualified to vote if, on the date of the election,

they (1) are at least 18 years of age, (2) have been United States citizens for at least one month,

(3) have resided in the Commonwealth for at least 90 days, (4) have resided in their intended

voting district for at least 30 days, and (5) have not been confined for a felony within the last five

years. See 25 P.S. §§ 2811, 1301.

                                           ARGUMENT

        Section 101 is privately enforceable. And its plain text bars the Defendant-Intervenors’

attempt to excise Pennsylvania’s mail in-voting envelope from the statute’s reach. That is

because Section 101 applies to errors or omissions in any “act requisite to voting.” The Statute’s

broad definition of “vote” ensures that its protections extend throughout the voting process,

including to the completion of a mail ballot envelope. And while Section 101 prohibits

disenfranchisement based on paperwork errors not material to qualifications, it does not require

states to abandon essential election administration procedures. Finally, to the extent

Pennsylvania law conflicts with federal law, state law is preempted and must yield.

   I.      Private Plaintiffs May Enforce Section 101.

        Plaintiffs bring their Section 101 claim pursuant to both 42 U.S.C. § 1983 and an implied

cause of action. Am. Compl. ¶ 7, ECF No. 121. When assessing whether private plaintiffs may

enforce a statute without an express cause of action, courts “must first determine whether

Congress intended to create a federal right.” Gonzaga Univ. v. Doe, 536 U.S. 273, 283 (2002).


                                                  4
        Case 1:22-cv-00339-SPB Document 229 Filed 02/03/23 Page 6 of 18




Once a right is established, “Plaintiffs suing under § 1983 do not have the burden of showing an

intent to create a private remedy because § 1983 generally supplies a remedy for the vindication

of rights secured by federal statutes.” Id. at 284. By contrast, “a plaintiff suing under an implied

right of action still must show that the statute manifests an intent ‘to create not just a private right

but also a private remedy.’” Id. (quoting Alexander v. Sandoval, 532 U.S. 275, 286 (2001)).

Individual voters may enforce Section 101 under both theories.

        As the Third Circuit has already held, Section 101 confers a personal right enforceable

under § 1983. Migliori, 36 F.4th at 159-62; see also Schwier v. Cox, 340 F.3d 1284, 1294-97

(11th Cir. 2003). 1 To determine whether statutory text contains rights-creating language, courts

rely on three factors: “(1) the statutory provision must benefit the plaintiffs with a right

unambiguously conferred by Congress; (2) the right cannot be so ‘vague and amorphous’ that its

enforcement would strain judicial competence; and (3) the statute must impose a binding

obligation on the States.” Lewis v. Alexander, 685 F.3d 325, 344 (3d Cir. 2012) (citing Blessing

v. Freestone, 520 U.S. 329, 340-341 (1997)). Section 101 prohibits state actors from denying

“the right of any individual to vote” on specified grounds. 52 U.S.C. § 10101(a)(2)(B). Thus,

the provision is “phrased in terms of the persons benefitted, not in terms of a general ‘policy or

practice.’” Grammer v. John J. Kane Reg’l Centers-Glen Hazel, 570 F.3d 520, 528 (3d Cir.


1
 Defendant-Intervenors urge this Court to ignore Migliori, D.I. Mem. 14-15, but its “prior
analysis continues to resonate.” Free Speech Coal., Inc. v. Att’y Gen. United States, 974 F.3d
408, 427 (3d Cir. 2020) (relying on vacated opinion); see also Real Alternatives, Inc. v. Sec’y
Dep’t of Health & Hum. Servs., 867 F.3d 338, 356 n.18 (3d Cir. 2017) (noting that vacatur does
not perforce establish that “reasoning in that opinion was incorrect”); McKinney v. Phila. Hous.
Auth., No. 07-cv-4432, 2010 WL 2510382, at *3 (E.D. Pa. June 16, 2010) (observing that
analysis may “remain as persuasive . . . if the opinion itself is vacated as if it were not”). By
contrast, Defendant-Intervenor’s motion relies heavily on the dissent from the Supreme Court’s
subsequent denial of a stay, which garnered the support of only three Justices. See D.I. Mem. 2-
4, 7-12 (citing Ritter, 142 S. Ct. at 1824-26 (Alito, J., dissenting)).



                                                   5
        Case 1:22-cv-00339-SPB Document 229 Filed 02/03/23 Page 7 of 18




2009) (quoting Gonzaga, 536 U.S. at 287). “[T]he statute clearly provides rights which are

specific and not amorphous.” Schwier, 340 F.3d at 1296. And Section 101 creates a prohibition:

“No person acting under color of law” can “deny the right of any individual to vote” on the

specified grounds. 52 U.S.C. § 10101(a)(2)(B). The statute is thus “couched in mandatory,

rather than precatory, terms.” Blessing, 520 U.S. at 341; see also Schwier, 340 F.3d at 1297. 2

Therefore, Section 101 confers an individual right, of the kind “presumptively enforceable by

§ 1983.” Gonzaga, 536 U.S. at 284. 3

       Although this Court need not consider whether Section 101 also incorporates an implied

cause of action, Plaintiffs may enforce Section 101 under that theory as well. The statutory

context “manifest[s] an intent to create a private remedy,” Sandoval, 532 U.S. at 289, to

vindicate the individual right just described. Most prominently, 52 U.S.C. § 10101(d) provides

district courts with “jurisdiction of proceedings instituted pursuant to this section” and states that



2
  Statutory structure and legislative history confirm Congress’s intent to create a personal right.
Section 101 contains no “countervailing structural elements” to suggest a programmatic rather
than an individual focus. Sabree ex rel. Sabree v. Richman, 367 F.3d 180, 192 (3d Cir. 2004).
To the contrary, other substantive provisions of 52 U.S.C. § 10101 are likewise focused on
individual voters’ right to vote free of irrational barriers, discrimination, or intimidation. See 52
U.S.C. § 10101(a)(1), (a)(2)(A), (a)(2)(C), and (b). Moreover, Congress added Section 101 to
enhance the “guarantee to all citizens [of] the right to vote without discrimination.” H.R. Rep.
No. 88-914, at 19 (1963). The new provision was designed to “reduce discriminatory obstacles
to the exercise of the right to vote and provide means of expediting the vindication of that right.”
Id. at 18. Like the statutory text, this legislative history indicates Congress’s focus on ensuring
that individuals are “accorded the rights, privileges, and opportunities which are considered to
be, and must be, the birthright of all citizens.” Id.
3
  Defendant-Intervenors do not even attempt to rebut that presumption of enforceability. Nor
could they. “[T]he existence of a more restrictive private remedy for statutory violations has
been the dividing line between those cases in which we have held that an action would lie
under § 1983 and those in which we have held that it would not.” City of Rancho Palos Verdes
v. Abrams, 544 U.S. 113, 121 (2005). Because Section 101 “contains no express private remedy,
much less a more restrictive one,” the Section 1983 remedy remains avaialble. Fitzgerald v.
Barnstable Sch. Comm., 555 U.S. 246, 256 (2009).



                                                  6
        Case 1:22-cv-00339-SPB Document 229 Filed 02/03/23 Page 8 of 18




they “shall exercise the same without regard to whether the party aggrieved shall have exhausted

any administrative or other remedies that may be provided by law.” 52 U.S.C. § 10101(d). The

reference to “the party aggrieved”—the individual who has been denied the right to vote—rather

than only to “the United States” contemplates private enforcement. See, e.g., Verizon Md., Inc.

v. Pub. Serv. Comm’n, 535 U.S. 635, 644 (2002); Morse v. Republican Pty., 517 U.S. 186, 233

(1996) (opinion of Stevens, J.). Language releasing plaintiffs from exhaustion requirements

likewise demonstrates Congress’s intent to authorize private enforcement, as the Attorney

General is not subject to such requirements. See Schwier, 340 F.3d at 1296; see also 52 U.S.C.

§ 10101(c) (authorizing suits by the Attorney General without exhaustion requirements); cf.

Morse, 517 U.S. at 234 (opinion of Stevens, J.) (relying on fees provision to imply cause of

action since “the Attorney General does not collect attorney’s fees”). 4

       Defendant-Intervenors posit in a footnote that neither § 1983 nor Section 101 grants

Plaintiffs a right to sue, D.I. Mem. 7 n.2, but the decisions they cite are inapt. The Sixth Circuit

addressed the issue without discussing § 1983 or providing any reasoning for its implied-right-

of-action holding, merely stating that Section 101 “is enforceable by the Attorney General, not

by private citizens.” McKay v. Thompson, 226 F.3d 752, 756 (6th Cir. 2000); see also Ne. Ohio

Coal. for the Homeless v. Husted, 837 F.3d 612, 630 (6th Cir. 2016) (acknowledging arguments


4
  Legislative history confirms Congress’s intent to create a private cause of action. The original
substantive provision of 52 U.S.C. § 10101, Section 10101(a)(1), contained no express
enforcement provision. See Act of May 31, 1870, ch. 114, § 1, 16 Stat. 140. And yet until
Congress added enforcement authority for the United States in 1957, private parties were the
only plaintiffs who could enforce Section 10101. Schwier, 340 F.3d at 1295; see also, e.g.,
Smith v. Allwright, 321 U.S. 649, 651-52 & n.1 (1944). Congress cited this history of private
enforcement approvingly when it added the Attorney General suit provision, Section 10101(c).
H.R. Rep. No. 88-914, at 12. Given Congress’s awareness of the history of private enforcement,
the current version of the statute “cannot be read except as a validation of” private enforcement
of substantive provisions of 52 U.S.C. § 10101. Sandoval, 532 U.S. at 280 (citation omitted)
(discussing Title VI); see also Forest Grove Sch. Dist. v. T.A., 557 U.S. 230, 239-40 (2009).


                                                  7
         Case 1:22-cv-00339-SPB Document 229 Filed 02/03/23 Page 9 of 18




for finding cause of action but holding that McKay “binds this panel”). Moreover, the mere fact

that a Fifth Circuit motions panel declined to opine on the issue, see Vote.org v. Callanen, 39

F.4th 297, 305 n.5 (5th Cir. 2022), fails to undercut the well-reasoned authority establishing that

private plaintiffs may enforce Section 101. See also, e.g., Tex. Democratic Party v. Abbott, 978

F.3d 168, 176 (5th Cir. 2020) (acknowledging motion panels do not bind merits panels).

   II.      Section 101 Applies to Mail Voting Materials.

         Section 101 prohibits persons acting under color of law from denying “the right of any

individual to vote in any election because of an error or omission on any record or paper relating

to any application, registration, or other act requisite to voting, if such error or omission is not

material in determining whether such individual is qualified under State law to vote in such

election.” 52 U.S.C. § 10101(a)(2)(B). Critically, Congress directed that the term “vote” be

construed broadly to include “all action necessary to make a vote effective, including, but not

limited to, registration or other action required by State law prerequisite to voting, casting a

ballot, and having such ballot counted and included in the appropriate totals of votes cast.” Id.

§ 10101(e); see also id. § 10101(a)(3)(A) (applying subsection (e)’s definition to subsection (a)).

Thus, in full, Section 101 prohibits persons acting under color of law from

         deny[ing] the right to of any individual to [register, take other actions required by
         State law prerequisite to voting, cast a ballot, and have such ballot counted in any
         election] because of an error or omission on any record or paper relating to any
         application, registration, or other act requisite to voting[, including casting a ballot
         and having such ballot counted,] if such error or omission is not material in
         determining whether such individual is qualified under State law to [register, take
         other actions required by State law prerequisite to voting, cast a ballot, and have
         such ballot counted in such election].

Id. § 10101(a)(2)(B). If an “individual’s vote is not counted because he or she did not follow the

rules for casting a ballot,” D.I. Mem. 8 (quoting Ritter, 142 S. Ct. at 1825 (Alito, J., dissenting)),




                                                    8
       Case 1:22-cv-00339-SPB Document 229 Filed 02/03/23 Page 10 of 18




and the rules at issue require information on a record or paper that is not material to

qualifications, the counting official has violated Section 101.

       Courts regularly apply Section 101 to paperwork requirements on mail ballot applications

and envelopes. See, e.g., La Unión del Pueblo Entero, 2022 WL 1651215, at *20-21; League of

Women Voters of Ark. v. Thurston, No. 5:20-cv-5174, 2021 WL 5312640, at *4 (W.D. Ark. Nov.

15, 2021); Org. for Black Struggle v. Ashcroft, 493 F. Supp. 3d 790, 803 (W.D. Mo. 2020);

Martin v. Crittenden, 347 F. Supp. 3d 1302, 1308-1309 (N.D. Ga. 2018). Relevant here, courts

that have engaged in substantive analysis have uniformly found that Section 101 applies to the

voter declaration on a Pennsylvania ballot return envelope. See Migliori, 36 F.4th at 156-57;

Chapman v. Berks Cnty. Bd. of Elections, 2022 WL 4100998, at *27-30 (Pa. Commw. Ct. Aug.

19, 2022); McCormick for U.S. Senate v. Chapman, 2022 WL 2900112, at *10-11 (Pa. Commw.

Ct. June 2, 2022). 5 Contrary to Defendant-Intervenors’ suggestion, D.I. Mem. 2, 11, the

Pennsylvania Supreme Court has not ruled for or against the application of Section 101 to this

state law requirement. See Ball, 284 A.3d at 192 (explaining only that “the Court is evenly

divided” as to whether failing to count ballots in undated envelopes violates Section 101).

       To exclude mail voting materials from Section 101 would flout the statute’s plain text.

Congress repeatedly used the word “any” to describe the statute’s inclusive coverage: Section

101 applies to “any individual” participating in “any election” and to “any record or paper”

relating to “any application, registration, or act requisite to voting.” 52 U.S.C. § 10101(a)(2)(B)



5
  See also In re Canvass, 241 A.3d at 1074 n.5 (noting potential application); id. at 1089 n.54
(Wecht, J., concurring and dissenting) (declining to reach question). Although a divided panel of
the Commonwealth Court suggested in dicta that Section 101 does not apply to the voter
declaration on a ballot return envelope, the majority did not address the statutory text and thus
erroneously concluded that Section 101 reaches only requirements to establish “qualifications
necessary to vote in the first place.” Lehigh Cnty. Bd. of Elections, 2022 WL 16577, at *9.


                                                 9
        Case 1:22-cv-00339-SPB Document 229 Filed 02/03/23 Page 11 of 18




(emphases added). In each application—the individuals protected, the elections administered,

the records and papers governed, and the application, registration, or other acts requisite to

voting at issue—Congress deployed the words “all” and “any” to give the statute “an expansive

meaning” that encompasses “one or some indiscriminately of whatever kind.” United States v.

Gonzales, 520 U.S. 1, 5 (1997); see also Ali v. Fed. Bureau of Prisons, 552 U.S. 214, 219

(2008); United States v. Serafini, 826 F.3d 146, 150 (4th Cir. 2016) (Congress’s “use of the word

‘all’ [as a modifier] suggests an expansive meaning because ‘all’ is a term of great breadth.”). 6

This comprehensive coverage captures Pennsylvania’s mail ballot envelope declaration, which is

one such “paper” relating to an “act requisite to voting.” Excluding paperwork concerning

“mandatory rules on the act of completing and casting a ballot,” D.I. Mem. 7, from the “other

act[s]” and “paper[s]” covered by Section 101 would ignore the statute’s plain text. 7 This Court

should reject the Defendant-Intervenor’s plea to do so.

        Defendant-Intervenors suggest that Section 101 regulates only “requirements and

practices related to qualifications and registration to vote, not rules . . . ‘that must be met in order



6
 In Ali, the Supreme Court rejected the argument that including the specific examples “officer of
customs or excise” before the general phrase “or any other law enforcement officer” limited that
general phrase to “officers acting in a customs or excise capacity.” 552 U.S. at 218 (citation
omitted). The Court determined that “Congress’ use of ‘any’ to modify ‘other law enforcement
officer’ is most naturally read to mean law enforcement officers of whatever kind.” Id. at 220.
Likewise, Congress’s use of “any” in Section 101 to modify “other act requisite to voting” is
most naturally read to mean acts of whatever kind that are necessary to cast a ballot and have it
counted. 52 U.S.C. § 10101(a)(2)(B).
7
  Defendant-Intervenors repeatedly cite the Vote.org stay panel’s erroneous suggestion that a
“plausible argument can be made that [Section 101] is tied to only voter registration specifically
and not to all acts that constitute casting a ballot.” 39 F.4th at 305 n.6; see also D.I. Mem. 8-11.
This cannot be squared with the statute’s text. See 52 U.S.C. § 10101(a)(2)(B) (addressing “any
application, registration, or other act requisite to voting”); Migliori, 36 F.4th at 162 n.56. Again,
the stay panel opinion in Vote.org does not bind the merits panel in the pending appeal in that
case, much less bind this Court.



                                                  10
        Case 1:22-cv-00339-SPB Document 229 Filed 02/03/23 Page 12 of 18




to cast a ballot that will be counted.’” D.I. Mem. 9 (citing Ritter, 142 S. Ct. at 1825 (Alito, J.,

dissenting)). But that argument collides with the statute’s text, which explicitly prohibits denial

of the right to vote based on paperwork requirements not material to determining a voter’s

qualifications. See 52 U.S.C. § 10101(a)(2)(B). 8 Requirements “related to qualifications” do

not, by definition, violate Section 101, and so Defendant-Intervenors would render Section 101 a

nullity. See Ysleta Del Sur Pueblo v. Texas, 142 S. Ct. 1929, 1939-40 (2022) (rejecting statutory

interpretation that would leave “whole provisions without work to perform”). Rather, rules that

govern whether a voter has “cast a ballot that will be counted” or “the validity of a ballot,” D.I.

Mem. 9-10 (quoting Ritter, 142 S. Ct. at 1825 (Alito, J., dissenting)), fall squarely within “acts

requisite to voting” when voting is defined as “casting a ballot[] and having such ballot counted.”

52 U.S.C. § 10101(a)(2)(B), (e). 9

       And Section 101’s all-encompassing language stretches beyond the mere ability to

register. Indeed, Congress specified that Section 101 is “not limited” to “registration” and that it

extends to all “other action required by State law prerequisite to voting, casting a ballot, and


8
 Section 101 extends beyond instances of intentional disenfranchisement or disparate treatment
of minority voters. See D.I. Mem. 9-10. The statutory text turns on the substance of the voter’s
error or omission, not the state of mind of a public official. See 52 U.S.C. § 10101(a)(2)(B); see
also Migliori, 36 F.4th at 162 n.56 (holding Section 101 reaches beyond racial discrimination).
9
  Although Defendant-Intervenors concede that “compliance with the date requirement is not
material to any individual’s qualifications to vote,” D.I. Mem. 12, this concession appears
grounded on their failure to apply the statutory definition of “vote.” The appropriate analysis
rests on whether particular mail ballot requirements are material to a voter’s qualification to cast
a mail ballot and have it counted. See, e.g., Migliori, 36 F.4th at 156 (including “the timeliness
of the ballot” in qualifications); La Unión del Pueblo Entero, 2022 WL 1651215, at *21
(concluding that “the initial rejection of a vote-by-mail application or mail ballot carrier
envelope based on errors or omissions that are not material to determining whether an individual
is qualified to vote under state law may constitute a violation of § 101”). When engaging in this
analysis, however, this Court should not rely on Defendant-Intervenors’ description of the
alleged purposes served by the date requirement, which they base on a dissenting opinion of the
Pennsylvania Supreme Court. D.I. Mem. 5-6 (quoting In re Canvass, 241 A.3d at 1090
(Dougherty, J., dissenting in relevant part)).


                                                  11
        Case 1:22-cv-00339-SPB Document 229 Filed 02/03/23 Page 13 of 18




having such ballot counted and included in the appropriate totals of votes cast.” Id. § 10101(e).

Congress could hardly have chosen language more expansive or more clearly crafted to ensure

that Section 101’s protections apply beyond registration to reach all acts necessary at any stage

of the voting process to cast a vote that will be counted. Those acts include filling out

information on a ballot envelope.

       Finally, Section 101 does not distinguish between “act[s] requisite to voting,” id.

§ 10101(a)(2)(B), and “the act of voting.” Cf. D.I. Mem. 11 (citing Ritter, 142 S. Ct. at 1826 n.2

(Alito, J., dissenting)). Rather, Section 101 incorporates all steps of the voting process. See 52

U.S.C. § 10101(e). Defendant-Intervenors’ bid to limit Section 101’s scope to registration

procedures reads the phrase “any other act requisite to voting” out of the statute. Thus, this

argument “runs afoul of the ‘cardinal principle’ of interpretation that courts ‘must give effect, if

possible, to every clause and word of a statute.’” Loughrin v. United States, 573 U.S. 351, 358

(2014) (citation omitted). Mail ballot envelope requirements fit neatly within the statute’s plain

text. See Migliori, 36 F.4th at 162 n.56 (rejecting argument to limit Section 101 to registration

procedures); see also, e.g., Martin, 347 F. Supp. 3d at 1308-1309. Defendant-Intervenors’

suggestion that dating a mail ballot envelope falls under a distinct commonsense definition of

“the act of voting”—that “[v]oting is voting,” D.I. Mem. 11—is mere rhetoric that cannot evade

Section 101’s clear commands. See Tanzin v. Tanvir, 141 S. Ct. 486, 490 (2020) (“When a

statute includes an explicit definition, we must follow that definition, even if it varies from a

term’s ordinary meaning.” (citation and quotation marks omitted)); see also Exec. Jet Aviation,

Inc. v. United States, 125 F.3d 1463, 1468 (Fed. Cir. 1997) (“[T]he plain, obvious and rational




                                                 12
            Case 1:22-cv-00339-SPB Document 229 Filed 02/03/23 Page 14 of 18




meaning of a statute is always to be preferred to any curious, narrow, hidden sense.”) (quoting

Lynch v. Alworth–Stephens Co., 267 U.S. 364, 370 (1925)). 10

     III.      Section 101 Does Not Prohibit Common Election Administration Requirements.

            Defendant-Intervenors argue that applying the statutory text of Section 101 would

“subject virtually every electoral regulation” to materiality restrictions and “hamper the ability of

States to run efficient and equitable elections.” D.I. Mem. 14 (quoting Clingman v. Beaver, 544

U.S. 581, 593 (2005)). Not so. This Court can apply Section 101’s plain text without concluding

that “any requirement that may prohibit an individual from voting if the individual fails to

comply denies the right of that individual to vote” under Section 101. D.I. Mem. 8-9 (quoting

Vote.org, 39 F.4th at 305 n.6). Section 101 applies only to paperwork errors or omissions.

Failure to vote at the appropriate time or location is not “an error or omission on any record or

paper.” 52 U.S.C. § 10101(a)(2)(B); cf. D.I. Mem. 8. Although Defendant-Intervenors describe

the failure to use an absentee ballot secrecy envelope as “an omission or an error involving any

record or paper,” D.I. Mem. 13 (internal quotation marks omitted), this too is not “an error or

omission on any record or paper,” 52 U.S.C. § 10101(a)(2)(B) (emphasis added). But failure to

date the declaration on an absentee ballot envelope is such an error, as Defendant-Intervenors

concede. D.I. Mem. 12. Rejecting an absentee ballot based on that error violates Section 101.

            Defendant-Intervenors also suggest that Section 101 cannot apply throughout the voting

process because election administrators would be forced to abandon common paperwork

requirements. But the sole example they present—a signature on a mail ballot envelope—is



10
  In any event, filling out a mail ballot certification is not “the act of voting” in a practical sense.
Voters do not indicate their preferred candidates on the certification envelope, and a completed
envelope is not in any sense a “vote.” It is, however, an act “requisite to voting.” 52 U.S.C.
§ 10101(a)(2)(B).


                                                   13
        Case 1:22-cv-00339-SPB Document 229 Filed 02/03/23 Page 15 of 18




material to qualifications to “vote,” as defined by statute, and thus does not implicate Section

101. Under Pennsylvania law, a signature on an absentee ballot envelope establishes that the

voter “is qualified to vote in the election” and is “qualified to vote the enclosed ballot.” In re

Canvass, 241 A.3d at 1065; cf. D.I. Mem. 12-13 (suggesting that the signature is not material to

qualifications). Defendant-Intervenors’ argument fails.

       Finally, Defendant-Intervenors erroneously claim that Section 101 cannot apply across

the voting process because that would nullify prohibitions on counting overvotes, i.e., the rule

that a ballot marked for two candidates for a single legislative seat will not be counted for that

contest at all. D.I. Mem. 13 (citing 25 P.S. § 3063(a)). But affording each voter only the allotted

number of votes per contest does not deny the right to vote. Although Section 101 protects each

elector’s right to have their “ballot” counted, that right denotes inclusion “in the appropriate

totals of votes cast with respect to candidates for public office and propositions.” 52 U.S.C.

§ 10101(e). Faced with a completed and cast anonymous ballot marked for too many candidates,

nothing in Section 101 prevents an election official who cannot determine the voter’s preference

from treating the ballot as unmarked in that particular contest. To do otherwise would grant the

voter additional votes. 11 Thus, a complete “ballot” that contains overvotes is still “cast and

counted,” id. § 21081(a)(1)(A)(iii)(III), even if the ballot effectively assigns no votes for an

overvoted office. See id. § 21081(a)(1)(A)(iii)(II)-(III) (distinguishing “the effect of casting

multiple votes for” an office from casting and counting a “ballot”).




11
  In other words, in an overvote situation, officials cannot “include[]” the sole vote to which the
voter is entitled “in the appropriate total[]” for one candidate because there is no way of knowing
for which candidate the voter actually cast their vote. Id. Thus, there is no way to “make [that]
vote effective.” Id.



                                                 14
           Case 1:22-cv-00339-SPB Document 229 Filed 02/03/23 Page 16 of 18




     IV.      Pennsylvania’s Mail Balloting Procedures Must Comply with Federal Law.

           Having created mail balloting procedures, Pennsylvania must apply them in line with

federal law and may not disenfranchise voters who rely on them. Cf. Harper v. Virginia State

Bd. of Elections, 383 U.S. 663, 665 (1966) (“[O]nce the franchise is granted to the electorate, . . .

the right of suffrage ‘is subject to the imposition of state standards which are not discriminatory

and which do not contravene any restriction that Congress, acting pursuant to its constitutional

powers, has imposed.’” (quoting Lassiter v. Northampton Cnty. Bd. of Elections, 360 U.S. 45, 51

(1959))); Self Advoc. Sols. N.D. v. Jaeger, 464 F. Supp. 3d 1039, 1052 (D.N.D. 2020) (“[A] state

that creates a system for absentee voting must administer it in accordance with the Constitution.”

(internal quotation marks omitted)). Section 101 applies to state paperwork requirements,

including those pertaining to absentee ballot envelopes. Where “compliance with both state and

federal law is impossible,” federal law “must prevail.” Oneok, Inc. v. Learjet, Inc., 575 U.S.

373, 377 (2015) (internal quotation marks omitted); see also Crosby v. Nat’l Foreign Trade

Council, 530 U.S. 363, 372 (2000) (“[S]tate law is naturally preempted to the extent of any

conflict with a federal statute.”). 12 Accordingly, if Section 101 precludes rejecting an otherwise



12
   Preemption under Section 101 does not require an “unmistakably clear” statement of intent.
D.I. Mem. 14 (quoting Gregory v. Ashcroft, 501 U.S. 452, 460 (1991)). Congress initially
enacted Section 101 pursuant to its authority under the Elections Clause, U.S. Const. Art. I, § 4,
cl. 1, to make or alter regulations governing the “Times, Places and Manner of holding Elections
for Senators and Representatives.” See Civil Rights Act of 1964, Pub. L. No. 88-352, § 101, 78
Stat. 241, 241 (applying only to federal elections); see also Voting Rights Act of 1965, Pub. L.
No. 89-110, § 15, 79 Stat. 437, 445 (eliminating limitation). In light of this express authority to
“alter” state election law governing federal elections, there is no presumption against preemption
for legislation enacted pursuant to the Elections Clause and no accompanying plain statement
rule. Arizona v. Inter Tribal Council of Arizona, Inc. (ITCA), 570 U.S. 1, 13-14 (2013); see also,
e.g., Fish v. Kobach, 840 F.3d 710, 729-32 (10th Cir. 2016); Harkless v. Brunner, 545 F.3d 445,
454 (6th Cir. 2008). And, in any case, Section 101 applies to “any record or paper relating to
any application, registration, or other act requisite to voting” without exception and applies a
statutory definition of “vote,” 52 U.S.C. § 10101(a)(2)(B), (e), meeting any plain statement



                                                 15
       Case 1:22-cv-00339-SPB Document 229 Filed 02/03/23 Page 17 of 18




properly cast and timely-received mail ballot merely because a voter erred by omitting a date on

the absentee ballot envelope or writing the wrong date (such as a date of birth), as that error is

not material to determining the voter’s qualifications under state law to cast a ballot, then

Pennsylvania may no longer reject mail ballots on that basis.

                                          CONCLUSION

       For the reasons set forth above, this Court should apply Section 101 of the Civil Rights

Act of 1964, 52 U.S.C. § 10101(a)(2)(B), to Pennsylvania’s mail ballot envelope date

requirement and should deny Defendant-Intervenors’ motion to dismiss.

Date: February 3, 2023

                                              Respectfully submitted,

                                              KRISTEN CLARKE
                                              Assistant Attorney General
                                              Civil Rights Division

                                              ELISE BODDIE
                                              Principal Deputy Assistant Attorney General
                                              Civil Rights Division

                                              /s/ Daniel J. Freeman                 .
                                              T. CHRISTIAN HERREN, JR.
                                              RICHARD A. DELLHEIM
                                              DANIEL J. FREEMAN
                                              MICHELLE RUPP
                                              Attorneys, Voting Section
                                              Civil Rights Division
                                              U.S. Department of Justice
                                              950 Pennsylvania Avenue NW
                                              Washington, DC 20530
                                              daniel.freeman@usdoj.gov




requirement. See, e.g., Pa. Dep’t of Corr. v. Yeskey, 524 U.S. 206, 208-10 (1998) (distinguishing
a statute without exceptions from the ambiguity in Gregory); see also id. at 212 (“[T]he fact that
a statute can be applied in situations not expressly anticipated by Congress does not demonstrate
ambiguity. It demonstrates breadth.” (internal citation and quotation marks omitted)).


                                                 16
       Case 1:22-cv-00339-SPB Document 229 Filed 02/03/23 Page 18 of 18




                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 3, 2023, I electronically filed the foregoing with the
Clerk of the court using the CM/ECF system, which will send notification of this filing to
counsel of record.


                                              /s/ Daniel J. Freeman
                                              Daniel J. Freeman
                                              Civil Rights Division
                                              U.S. Department of Justice
                                              950 Pennsylvania Ave, NW
                                              Washington, DC 20530
                                              (202) 305-4355
                                              daniel.freeman@usdoj.gov
